                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Dreams USA, Inc.            )
                             )                      Case No. 24-cv-779
 v.                          )
                             )                      Judge: Hon. Elaine E. Bucklo
 THE PARTNERSHIPS and        )
 UNINCORPORATED ASSOCIATIONS )                      Magistrate: Hon. Jeffrey Cole
IDENTIFIED ON SCHEDULE A     )
                             )


                  MOTION TO DISMISS PURSUANT TO FRCP 60(b)(5)

       The Plaintiff, having reached a post-default settlement agreement with the Doe

Defendants listed below:

 Doe Store                                                 Merchant ID
 65  Shenzhen Bvanki Technology Co., Ltd.                  szbvanki
 464 JiWenMan                                              634418210949651


which satisfies the terms of the previous judgment, files this motion pursuant to FRCP 60(b)(5)

to dismiss them from the suit without prejudice.

Dated this 9th Day of May 2024.              Respectfully submitted,


                                             By:      s/David Gulbransen/
                                                    David Gulbransen
                                                    Attorney of Record
                                                    Counsel for Plaintiff

                                                    David Gulbransen (#6296646)
                                                    Law Office of David Gulbransen
                                                    805 Lake Street, Suite 172
                                                    Oak Park, IL 60302
                                                    (312) 361-0825 p.
                                                    david@gulbransenlaw.com
